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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF WYOMING

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                BOTW Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  115 West Yellowstone Avenue                                     P.O. Box 1150
                                  Cody, WY 82414                                                  Cody, WY 82414
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Park                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    BOTW Holdings, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    BOTW Holdings, LLC                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   BOTW Holdings, LLC                                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    BOTW Holdings, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 19, 2024
                                                  MM / DD / YYYY


                             X /s/ Jeff Edwards                                                           Jeff Edwards
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager of Stryk Group Holdings, LLC




18. Signature of attorney    X /s/ Bradley T. Hunsicker                                                    Date April 19, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bradley T. Hunsicker
                                 Printed name

                                 Markus Williams Young & Hunsicker LLC
                                 Firm name

                                 2120 Carey Avenue, Suite 101
                                 Cheyenne, WY 82001
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     307-778-8178                  Email address      bhunsicker@markuswilliams.com

                                 7-4579 WY
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         BOTW Holdings, LLC

United States Bankruptcy Court for the:     DISTRICT OF WYOMING

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 19, 2024                  X /s/ Jeff Edwards
                                                           Signature of individual signing on behalf of debtor

                                                            Jeff Edwards
                                                            Printed name

                                                            Manager of Stryk Group Holdings, LLC
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name BOTW Holdings, LLC
 United States Bankruptcy Court for the: DISTRICT OF WYOMING                                                                                 Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alcohol and                                                                                                                                                     $28,000.00
 Tobacco Tax and
 Trade Bureau
 PO Box 979055
 Saint Louis, MO
 63197-9000
 Andy Moeckel                                                                                                                                                    $25,000.00
 3428 Parkway Ave,
 Unit A
 Bozeman, MT 59718
 Chrysler Capital                                                                                                                                                $34,636.09
 P.O. Box 660335
 Dallas, TX
 75266-0335
 Defiance Machine                                                                                                                                                $20,000.00
 Inc
 3881 Hwy 40 W
 Columbia Falls, MT
 59912
 First Bank of                                                                                                                                                   $24,327.72
 Wyoming
 1507 8th Street
 Cody, WY 82414
 First Bank of                                                                                                                                                   $28,275.67
 Wyoming
 1507 8th Street
 Cody, WY 82414
 First Bank of                                                                                                                                               $2,500,000.00
 Wyoming
 1507 8th Street
 Cody, WY 82414
 Hawkins Precision                                                                                                                                                 $5,015.00
 LLC
 2350 Executive Cir
 Colorado Springs,
 CO 80906-4138



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 Debtor    BOTW Holdings, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Japan Optics                                                                                                                                                  $140,000.00
 334-0058
 Saitama Kawaguchi
 Angyo ryoke 1046-1
 Japan
 John A. McCall Jr                                                                                                                                           $2,441,523.57
 c/o Walker Law
 P.O. Box 22409
 Cheyenne, WY
 82003
 Michaletz Holdings,                                                                                                                                               $4,000.00
 LLC
 150 Saint Andrews
 Ct., Ste 210
 Mankato, MN 56001
 MWS Associates                                                                                                                                                    $4,472.94
 185 E Walnut St #
 120
 Sturgeon Bay, WI
 54235-3900
 Open Source                                                                                                                                                       $7,500.00
 Integrators (OSI)
 P.O. Box 940
 Higley, AZ 85236
 Ryan Chalupsky                                                                                                                                                    $3,800.00
 3613 Maple Leaf Ave
 Cody, WY 82414
 SBW & Associates                                                                                                                                                  $3,600.00
 PC
 931 Rumsey Ave
 P.O. Box 637
 Cody, WY 82414
 Spotted Bear                                                                                                                                                      $8,333.00
 Marketing Co.
 1204 Glider Ln Unit
 A
 Belgrade, MT
 59714-9443
 Stryk Group USA,                                                                                                                                                $45,000.00
 LLC
 215 Quail Run Rd
 Unit D
 Bozeman, MT 59718
 US Small Business                                                                                                                                             $146,158.38
 Administration
 721 19th St, #426
 Denver, CO 80202
 Yellowstone Ave,                                                                                                                                                $11,121.49
 LLC
 150 Saint Andrews
 Ct.,Ste 210
 Manakato, MN 56001

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    BOTW Holdings, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Yellowstone Natural                                                                                                                                             $80,000.00
 Holdings
 215 Quail Run Rd
 Unit D
 Bozeman, MT 59718




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                                              United States Bankruptcy Court
                                                         District of Wyoming
 In re   BOTW Holdings, LLC                                                                  Case No.
                                                                  Debtor(s)                  Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Manager of Stryk Group Holdings, LLC of the corporation named as the debtor in this case, hereby verify that the attached list

of creditors is true and correct to the best of my knowledge.




Date:    April 19, 2024                                /s/ Jeff Edwards
                                                       Jeff Edwards/Manager of Stryk Group Holdings, LLC
                                                       Signer/Title
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Japan Optics
334-0058
Saitama Kawaguchi
Angyo ryoke 1046-1
Japan

Antlers Realty, Inc.
802 Canyon Ave
Cody WY 82414-4109

MetLife
PO Box 804466
Kansas City MO 64180-4466

DEX Imaging
PO Box 17299
Clearwater FL 33762-0299

Stryk Group USA, LLC
215 Quail Run Rd Ste D
Bozeman MT 59718-5979

Spotted Bear Marketing Co.
1204 Glider Ln Unit A
Belgrade MT 59714-9443

Open Source Integrators (OSI)
PO Box 940
Higley AZ 85236

Terminix of Wyoming
731 N McKinley
Casper WY 82601

Black Hills Energy (BHE)
PO Box 7966
Carol Stream IL 60197-7966

DuraCoat
3601 129th St
Chippewa Falls WI 54729-7365

SKB Corporation
434 W. Levers Place
Orange CA 92867

Amazon
410 Terry Ave N
Seattle WA 98109
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AFLAC
PO Box 673025
Dallas TX 75267-3025

Mountain Alarm
PO Box 12487
Ogden CO 84412-2487

City of Cody Utilities
1338 Rumsey Ave
PO Box 2200
Cody WY 82414-3713

Avalara Inc
255 S. King St. #1800
Seattle WA 98104

Primary Arms
2825 Miller Ranch Rd
Pearland TX 77584-9713

Say Where Storage
PO Box 141
Cody WY 82414

TrackStreet
5940 S Rainbow Blvd Ste 400
Pmb 29009
Las Vegas NV 89118-2507

ADG - Atlas Development Group, LLC
219 Enterprise Dr
PO Box 1895
Elizabethtown KY 42701-8405

NetFortris Inc
5340 Legacy Dr Ste 155
Plano TX 75024

Amazon Web Services
410 Terry Ave. North
Seattle WA 98109-5210

TCT
PO Box 310
Basin WY 82410

Entre Technology Services
1501 14th St W #201
Billings MT 59102
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Yellowstone Ave, LLC
150 Saint Andrews Ct.,Ste 210
Mankato MN 56001

Pinnacle Consulting LLC
PO Box 153
Burlington WY 82411

Park County Treasurer
1002 Sheridan Ave, Ste 3
Cody WY 82414-3532

MDT
401 Lincoln St. Suite M
Everson WA 98247

McMillan USA
1638 W Knudsen Drive
Phoenix AZ 85027

SilencerCo
5511 S 6055 W
West Valley City UT 84118-7608

Proof Research Inc
10 Western Village Lane
Columbia Falls MT 59912

Norco Inc
LB 413124
PO Box 35144
Seattle WA 98124-5144

Michaletz Holdings, LLC
150 Saint Andrews Ct.
Suite 210
Mankato MN 56001

Proffit's Enterprises
3201 Reesy Rd
Cody WY 82414-9675

Big Horn Water LLC
406 Lawson Ave
Worland WY 82401

MWS Associates
185 E Walnut St # 120
Sturgeon Bay WI 54235-3900
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Dale Caldwell
PO Box 562
Hudson NC 28638-0562

1926 State Highway 30
Burlington WY 82411-9733

AVEK IP LLC
8900 State Line Rd Ste 500
Leawood KS 66206-1983

Shopify
151 O'Connor St
Ground Floor
Ottawa ON K2P 2L8

Edge Marketing + Design
1301 11th Ave Suite B
Helena MT 59601

Alcohol and Tobacco Tax and Trade Bureau (TTB)
Excise Tax
PO Box 979055
Saint Louis MO 63197-9000

Cody Country Chamber of Commerce
836 Sheridan Ave
Cody WY 82414

Hall & Evans LLC
1001 17th Street, Suite 300
Denver CO 80202-2084

Weby Corp (Gritr Sports)
7901 Boulevard 26 Ste 200
North Richland Hills TX 76180-7108

Wild Sheep Foundation
412 Pronghorn Trl
Bozeman MT 59718-6104

ULINE
12575 Uline Drive
Pleasant Prairie WI 53158

ALTUS Shooting Solutions
5790 Highway 4
Baker FL 32531-2806
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Rocky Mountain Elk Foundation
5705 Grant Creek Rd
Missoula MT 59808-9394

Trans American Customhouse Brokers, Inc.
52 Sonwil Dr
Buffalo NY 14225-2425

Hawkins Precision LLC
2350 Executive Cir
Colorado Springs CO 80906-4138

Graf & Sons
4050 S. Clark St.
Mexico MO 65265

SBW & Associates PC
931 Rumsey Ave
PO Box 637
Cody WY 82414

Bloedorn Lumber
1902 Big Horn Ave
Cody WY 82414-8443

Huntin' Fool
PO Box 250
Cedar City UT 84721-0241

Cerakote
7050 6th St
White City OR 97503-1037

Midwest Welding & Machine Inc
2320 N 7th Ave
Bozeman MT 59715-2531

Global Experience Specialists, Inc. (GES)
Bank of America
PO Box 96174
Chicago IL 96174

B&T Industries LLC
PO Box 771071
Wichita KS 67277-1071

Muzzle-Loaders.com
2618 Bearco Loop
La Grande OR 97850-5335
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Lee Shaver Gunsmithing
404 E 17th St
Lamar MO 64759-2016

Bullet Central
1102 Page Dr S
Fargo ND 58103-2300

NNR Global Logistics
28574 Network Pl
Chicago IL 60673-1285

Defiance Machine Inc
3881 Hwy 40 W
Columbia Falls MT 59912

Montana Tactical
6994 Gooch Hill Rd
Bozeman MT 59718-6913

Freeman
PO Box 734596
Dallas TX 75373-4596

Wyoming Fire Safety LLC
PO Box 3111
Cody WY 82414

Jim Kindt
3402 Appalachian Ave
PO Box 2935
Cody WY 82414-8530

Jacob Michaletz
1237 Rumsey Ave
Cody WY 82414-3664

Wyoming Dept of Revenue - Excise Tax Division
Herschler Building East
122 W 25th St Ste E301
Cheyenne WY 82001-3004

Safari Club International
4800 W Gates Pass Rd
Tucson AZ 85745-9600

Airways Freight Corp.
PO Box 1888
Fayetteville AR 72702
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The Expo Group
5931 Campus Circle Dr W
Irving TX 75063-2606

Wyatt's Outdoor Custom Rifles
630 Avera Rd.
Vienna GA 31092

Garmin
1200 E 151st St
Olathe KS 66062-3426

Buck'n Horse Electric Inc.
1261 Sheridan Ave
Cody WY 82414-3629

"Keegan & Krisjansons PC
PO Box 2930
Cody WY 82414

Capstone Precision Group
4051 N Higley Rd Bldg 1
Mesa AZ 85215-1210

Chris Mota-Hernandez
655 Beartooth Dr
Powell WY 82435

Old Dominion Freight Line
PO Box 742296
Los Angeles CA 90074-2296

Alyssa Matuska
43 Panorama Ln
Cody WY 82414-8829

Grady Stovey
1058 Road 8 1/2
Powell WY 82435-8509

Tim Bushnell
1201 Meadow Lane Ave
Cody WY 82414-4619

Dillon Precision Products
8009
East Dillons Way
Scottsdale AZ 85260

Christine Michaletz
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115 W Yellowstone Ave
Cody WY 82414-8723

360 Office Solutions
PO Box 30598
Billings MT 59107-0598

Terence Knudsen
704 N 2770 W
Provo UT 84601-1184

KRG
23228 S Highway 95
Coeur D Alene ID 83814-7416

North Risk Partners
100 Warren St Ste 204
Mankato MN 56001-7749

GS1 US, Inc.
PO Box 78000
Detroit MI 48278-0001

Morton and Associates
26302 173rd St E
Buckley WA 98321-8544

Executive Services
301 Evergreen Drive, Ste. A
Bozeman MT 59715

Secure It
6691 Commerce Blvd
Syracuse NY 13211-2211

Red Hawk Rifles
2317 Grand Park Dr Ste 2b
Grand Junction CO 81505-8407

McMaster-Carr
1901 Riverside Pkwy
Douglasville GA 30135-3150

Auto Body Toolmart
2545 Millennium Dr
Elgin IL 60124-7815

Brett J Trout PC
516 Walnut St
Des Moines IA 50309-4106
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Mile High Shooting Accessories
5831 Ideal Drive
Frederick CO 80516

River Ridge Shooting Club
47028 547th Ln
Courtland MN 56021-4233

M & M Aircraft LLC
150 Saint Andrews Ct Ste 210
Mankato MN 56001-8804

Nation's Best Sports
ATTN: Morgan Hobbs
4350 Fossil Creek Blvd
Fort Worth TX 76137-2740

Curtis Custom
500 Private Road 2323
Hondo TX 78861-6838

Odoo Inc
250 Executive Park Blvd #3400
San Francisco CA 94134

Morgan ALlison
2113 Franklin St
PO Box 396
Meeteetse WY 82433

Intella Parts
196 120th Ave
Holland MI 49424-3309

BraumRudd
812 East Franklin St. Ste C
Dayton OH 45459

Midway USA
5875 W Van Horn Tavern Road
Columbia Falls MO 65203

KG Industries, LLC
PO Box 1098
Taylor TX 76574

OpticsPlanet, Inc
3150 Commercial Ave
Northbrook IL 60062-1906
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Mazak
8025 Production Dr
PO Box 970
Florence KY 41042-3027

Ulmer & Berne LLP
PO Box 74529
Cleveland OH 44194-4529

Talley Manufacturing, Inc.
P.O. Box 369
Santee SC 29142

House Labels
6824 S Manhattan Ave Apt 103
Tampa FL 33616-2549

Bottom Paint Store
8635 W Hillsborough Ave Ste 223
Tampa FL 33615-3810

Fedcomm Industrial Co., Ltd.
China,
Shenzhen Floor 6, Building 18, Fengrun Baoan District"
Light Optical Works, LTD
101-0021
Tokyo Chiyoda-ku
No. 2402 Tokyo Times Tower
Sotokanda 4-14-2
Japan

LG Outdoors
34 Firetower Road
Wetumpka, AL 36092
United States"

Bonner Crandall Beckett
1102 Beck Avenue
Cody 82414

Kevin Norma
PO Box 255
Paradise UT 84328-0255

TriggerTech
2440 Tedlo St
Mississauga ON L5A 3V3
Canada
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DI Precisoin
6360 Fm 50
Brenham TX 77833-0696

Hawk Ridge Systems
575 Clyde Ave Ste 420
Mountain View CA 94043-2272

MagnetoSpeed
21 Creek Circle
Boothwyn PA 19061

Ridgeline Consulting LLC
3613 Maple Leaf Ave
Cody WY 82414

Levi Vold
518 Willow Creek Rd.
Lander WY 82520

DeadEye Inc.
31111 County Road 28
Lowry MN 56349-4511

BPI Outdoors
1270 Progress Center Ave Ste 100
Lawrenceville GA 30043-4857

Hornady Manufacturing
PO Box 1848
Grand Island NE 68802

Hodgdon Powder
6430 Vista Drive
Shawnee KS 66218

Gradient Lens Corporation
207 Tremont St
Rochester NY 14608-2303

Gun Candy
290 10th St
Bingham Lake MN 56118-9620

Eckberg Power
100 Madison Ave
Mankato MN 56001-3358

Porter, Muirhead, Cornia & Howard (PMCH)
PO Box 2570
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Casper WY 82602-2750

Powder Valley
17295 151st Rd
Winfield KS 67156

Reeds Family Outdoor Outfitters
522 Minnesota Ave W
Walker MN 56484

MSC Industrial Supply Co
PO Box 953635
Saint Louis MO 63195-3635

Apollo Creative Inc
PO Box 15827
Colorado Springs CO 80935

Mazak
8025 Production Dr
PO Box 970
Florence KY 41042-3027

iHeartMedia
PO Box 406372
Atlanta GA 30384-6372

Inventive-Group
2915 Industrial Way
Mountain Home ID 83647-3902

National Rifle Association
Shows & Exhibits Division
11250 Waples Mill Rd
Fairfax VA 22030-7550

Worldwide
PO Box 88607
Seattle WA 98138-2607

Labradar
8221 W. Meadow Pass Ct
Wichita KS 67205

Boone's Machine & Rental
341 24th St
Cody WY 82414-4008

Builders FirstSource
PO Box 74007036
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Chicago IL 60674-7036

Manners Composite Stocks
1232 Swift Ave
North Kansas City MO 64116-4012

Boyds Hardwood Gunstocks
25376 403rd Ave
Mitchell SD 57301-5402

Central Valley Machine
1886 North 100 East
Logan UT 84341

Williams, Porter, Day & Neville, PC
159 N Wolcott St., Ste 400
Casper WY 82602

Pacific Tool & Gauge
PO Box 2549
White City OR 97503

Zermatt Arms
100 Monroe St.
Bennet NE 68317

Michael Heal
10257 Missouri Meadows St
Las Vegas NV 89183

Walmart
321 Yellowstone Ave
Cody WY 82414-9315

Ace Hardware
2201 17th St
Cody WY 82414-4726

MMT Productivity
4925 S Santa Fe Dr
Littleton CO 80120-2279

Cody Guns and Ammo
1 Trout Ranch Rd
Cody WY 82414

Midsouth Shooters Supply
770 Economy Street
Clarksville TN 37043
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Remington Arms/Ammunition
2592 Arkansas Highway 15 N
Lonoke AR 72086-8551

All World Machinery Supply
6164 All World Way
Roscoe IL 61073-7738

Lone Peak Arms LLC
85 E. 4000 N
Hyde Park UT 84318

Eide Bailly, LLP
PO Box 2545
Fargo ND 58108-2545

Berry's Bullets
401 N. 3050 E.
St. George UT 84790

Woodward Tractor & Rental, Inc.
622 Blackburn St
Cody WY 82414-8446

Los Cazadores
14887 E Us Highway 290
Stonewall TX 78671-3732

Artco
250 W Duarte Rd Ste E
Monrovia CA 91016-7464

Orchid Advisors LLC
PO Box 270862
West Hartford CT 06127-0862

Jeremy Kidd, JD, PhD
900 Timberline Drive
Polk City IA 50226

AFLAC-ARGUS
PO Box 673025
Dallas TX 75267-3025

Bill Hicks and Company
15155 23rd Ave N
Plymouth MN 55447-4751

Kenetrek Boots
96 Northstar Ln.
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Bozeman MT 59718

Evolved Ballistics
1001 Timber Ridge Rd
Marble Falls TX 78654-7839

The Bullet Bunker
405 Industrial Pkwy
Norwalk OH 44857-3101

Wilson Arms
97 Leetes Island Rd.
Branford CT 06405

Gear Fool
1579 N Main St Ste 100
Cedar City UT 84721-8592

Bass Pro Shops
7970 E Northfield Blvd
Denver CO 80238-3527

Wyoming Secretary of State
Herschler Building East
122 W 25th St Ste 100 & 101
Cheyenne WY 82002-0020

Pence and MacMillan LLC
501 East Garfield Street
Laramie WY 82070

Miwall Corp
PO Box 2809
Grass Valley CA 95945

KSE Sportsman Media Inc
PO Box 419657
Boston MA 02241-9657

Boyt Harness Company
PO Box 483
Osceola IA 50213

Big Horn Glass
1930 Sheridan Ave
Cody WY 82414-3933

Yeoman Studios
1724 Swallows Nest Loop
Clarkson WA 99403
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RMDS Cody
1526 Rumsey Ave
Cody WY 82414-3871

JGS Precision
60819 Selander Rd
Coos Bay OR 97420-7464

Hankins Custom Rifles
4875 Lemon Northcutt Rd
Dry Ridge KY 41035-6802

Grainger
100 Grainger Pkwy
Lake Forest IL 60045-5202

SFM
3500 American Blvd W
Suite 700
Bloomington 55431-4434

Texas Hunting Equipment
1306 Interstate 20 West
Cisco TX 76437

GraphicCraft LLC
546 Chesterton Ave.
Belmont CA 94002

Black Hills Shooters Supply
P.O. Box 4220
Rapid City SD 57709

JW Productions LTD (DNS, Pre-Odoo Invoice)
220 Spruce Ridge Road
Spruce Grove AB T7X 0X6
Canada

Straight Shot Gunsmithing
2175 41st Ave Sw
Center ND 58530-9767

Toolstoday
120 Carolyn Blvd
Farmingdale NY 11735-1525

Gunn Innovations
7801 Redpine Rd Ste A
North Chesterfield VA 23237-2290
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Alpha Munitions
268 W Paramount Ave
Salt Lake City UT 84115-5216

Distant Design & Consulting
412 Vz County Road 2808
Mabank TX 75147-5023

Cody Shooting Complex
P.O. Box 1504
Cody WY 82414

Jordan Mulso
64415 270th St
Alden MN 56009-4396

Forge Carbon
319 Robert St
Cody WY 82414-9268

Nova Color Inc.
PO Box 12157
Ogden UT 84412-2157

JDC Electronics SA
Avenue des sports 42
1400 Yverdon-les-Bains
Switzerland

Rich Dahm
12720 E Nora Ave Ste E
Spokane Valley WA 99216-1197

Kinseys
1679 Steel Way
Mount Joy PA 17552-9515

Steele Components and Ammo, LLC
2425 4th Ave N
PO Box 511
Lewiston ID 83501

Cody Stampede, Inc.
PO Box 1327
Cody WY 82414-1327

Brownells
200 S Front St
Montezuma IA 50171-1184
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Wyoming Child Support
2300 Capitol Ave
5th Floor Suite A
Cheyenne WY 82002

Antlers Realty, Inc.
802 Canyon Ave
Cody WY 82414-4109

Hisco
6650 Concord Park Dr
Houston TX 77040-4098

Raise3D Technologies
43 Tesla
Irvine CA 92618-4603

Forge Carbon
319 Robert St
Cody WY 82414-9268

Clint Williams
154 Floral Rd
Concord AR 72523-9604

Sportsman Channel Canada
802-1166 Alberni St
Vancouver BC V6E 3Z3
Canada

Felix Carrizales
739 Lane 39
PO Box 204
Burlington WY 82411

Pro-Bed 2000
9812 Cochiti Rd Se
Albuquerque NM 87123-3334

Wyatt's Outdoor Custom Rifles
630 Avera Rd.
Vienna GA 31092

4D Reamer Rentals
301 Thelma Dr
PMB #202
Casper WY 82609-2325

Murdoch's Ranch & Home Supply
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455 S Absaroka St
Powell WY 82435-2804

GrovTec US, Inc.
23555 NE Halsey St.
Wood Village OR 97060

Caplugs
2150 Elmwood Ave
Buffalo NY 14207-1910

Kaspar Outdoors
959 State Highway 95 N
PO Box 667
Shiner TX 77984-5883

Ultrec Engineered Products, LLC
860 Maple Ridge Ln
Brookfield WI 53045-2826

Limbsaver
50 W. Rose Nye Way
Shelton WA 98584

Acker Electric, Inc.
307 17th Street
Cody WY 82414

Archery Trade Association (ATA)
PO Box 70
New Ulm MN 56073-0070

Idaho State Tax Commission
11321 W Chinden Blvd
PO Box 36
Boise ID 83714-1021

Badlands Gear Co LLC
9865 S 500 W
Sandy UT 84070-2561

Precision Turning Specialties Inc
West Irish Street 906
Greeneville TN 37743

Sportsman Channel
PO Box 83216
Chicago IL 60691-0216

Wyoming Outdoorsmen
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PO Box 2562
Cody WY 82414-2562

Charge Media Partners LLC
9295 Old Preserve Tr
Ball Ground GA 30107

UPrinting
8000 Haskell Ave
Van Nuys CA 91406-1321

Freeman Supply
1101 Moore Rd
Avon OH 44011-4043

Chrysler Capital
PO Box 660335
Dallas TX 75266-0335

North Park Transportation Co.
5150 Columbine St
Denver CO 80216-2305

Elk Fork Outfitters LLC
17 Paintbrush Dr
Cody WY 82414-7855

Cambridge Valley Machining Inc
PO Box 160
Cambridge NY 12816-0160

SCK Longrange Supplies
1049 River View Dr
Cody WY 82414-3013

CNC Associates Inc
PO Box 51160
Los Angeles CA 90074-1160

Dominic Pasquale
Hillary Pasquale
544 S 13th Ave
Raton NM 87740-4335

Southern Precision Rifles
2883 Landscape Rd
Cookeville TN 38506-6551

Union Standard Supply Co.
9383 E Bell Rd
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Scottsdale AZ 85260-1500

Sherwin-Williams Co
401 Stone St
Cody WY 82414-5701

Cole-TAC LLC
3350 Jet Dr
Rapid City SD 57703

Backcountry Canvas
303 Clark Ave
Ralston WY 82440

MLC CAD Systems
4625 W. Williams Cannon, Bldg 5
Austin TX 78749

Chris Humphrey
1207 Blue Water Ct
Cody WY 82414-4141

Wyoming Blanket Company LLC
131 Windsor Dr N
Cody WY 82414-5702

Brux Barrels, LLC
917 Development Dr
Lodi WI 53555-1355

FastBound
1024 Iron Point Rd
Folsom CA 95630-8013

The Outdoor Wire
155 Litchfield Road
Edgartown MA 02539

First Bank of Wyoming
1507 8th Street
Cody WY 82414

Bluebird Customs
2117 Venus Ct
Park City UT 84060-7003

Seton
PO Box 95904
Chicago IL 60694-5904
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Joseph Michaletz
1237 Rumsey Ave
Cody WY 82414-3664

Long Range Hunting LLC
2311 Patriot Ln
Oshkosh WI 54904-6928

AnyDesk Software
Türlenstraße 2
70191 Stuttgart
Germany

Unknown Munitions
4508 W Grange Ave. Suite 3
Post Falls ID 83854

MC Machinery Systems Inc
85 Northwest Point Blvd
Elk Grove Village IL 60007-1031

Saner Brothers Hunt & Gear Consulting
141 Saner Ln
Thompsontown PA 17094-8659

Arcqos LLC (DNS, Pre-Odoo Invoice)
609 W Water Vista Dr
Eagle ID 83616-4108

JBO Production Inc.
11554 Monette Rd
Riverview FL 33569-4601

Powell Lock LLC
270 Stockade Ct
Powell WY 82435-3201

FedEx
PO Box 94515
Palatine IL 60094-4515

Kinchloe Plumbing
PO Box 1015
Cody WY 82414

Image Matters
1795 N 600 W, Suite 102
Logan UT 84321

Switchview USA
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825 S. Washington Ave.
Emmett ID 83617

Advanced Heating & AC
302 16th St
PO Box 2752
Cody WY 82414

Guidefitter Inc.
392 Gallatin Park Dr Ste 201
Bozeman MT 59715-7930

Grizzly Fabrication & Welding LLC
930 Crestview Ct
Powell WY 82435

Walker Law
P.O. Box 22409
Cheyenne, WY 82003

John A. McCall Jr
c/o Walker Law
P.O. Box 22409
Cheyenne, WY 82003

US Small Business Administration
721 19th St $426
Denver, CO 80202

US Small Business Administration
409 3rs St.
SW Washington, DC 20416

Andy Moeckel
3428 Parkway Avenue, Unit A
Bozeman, MT 59718

Ryan Chalupsky
3613 Maple Leaf Avenue
Cody, WY 82414

Jack Peterson
1926 State Highway 30
Bulrington, WY 82411-9733

Maddison Gail
1726 1/2 Alger Ave, Apt. 1
Cody, WY 82414

T. Thomas Singer
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Amanda G. Hunter
HALL & EVANS LLC
175 N. 27th Street, Suite 1101
Billings, MT 59101

Brigita S. Krisjansons
Keegan and Krisjansons
P.O. Box 2930
Cody, WY 82414

Robert J. Walker
John M. Walker
WALKER LAW LLP
114 E. 7th Ave., Suite 200
Cheyenne, WY 82001

Ben Jumonville
Kean Miller LLP
400 Convention Street, Suite 700
Baton Rouge, LA 70802
